1844 (Rev, 12135 CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Seungick Chung Grace Road Church (New York), Grace Road Church (South Korea),
Ok-Joo Shin

(b) County of Residence of First Listed Plaintiff Hartford == ss County of Residence of First Listed Defendant Queens, New York City
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(Cc) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
The Law Offices of Sung-Ho Hwang
1 Audubon Street, Suite 102, New Haven, CT 06511

I]. BASIS OF JURISDICTION (Place an “x” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “Xx” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant}
4 U.S. Government O03 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State x © {Incorporated or Principal Place ao4 04
of Business In This State
2 U.S. Government 34° Diversity Citizen of Another State 02 © 2 Incorporated and Principal Place o5 05
Defendant (indicate Citizenship of Parties in ltem III) of Business In Another State
Citizen or Subject of a Oo 3 © 3. Foreign Nation O06 6
Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)
l CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
7 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure { 422 Appeal 28 USC 158 O 375 False Claims Act
J 120 Marine © 310 Airplane © 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 400 State Reapportionment
1 130 Miller Act 0 315 Airplane Product Product Liability 690 Other 28 USC 157 O 410 Antitrust
[J 140 Negotiable Instrument Liability (7 367 Health Care/ 0 430 Banks and Banking
1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS G 450 Commerce
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights O 460 Deportation
7 151 Medicare Act CG 330 Federal Employers‘ Product Liability O 830 Patent © 470 Racketeer Influenced and
17 152 Recovery of Defaulted Liability CV 368 Asbestos Personal © 840 Trademark Corrupt Organizations
Student Loans 340 Marine Injury Product _ © 480 Consumer Credit
(Excludes Veterans) C345 Marine Product Liability LABOR : SOCIAL SECURITY. O 490 Cable/Sat TV
7 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fair Labor Standards O 861 HIA (1395ff) 850 Securities/Commodities/
of Veteran's Benefits 1 350 Motor Vehicle 370 Other Fraud Act © 862 Black Lung (923) Exchange
J 160 Stockholders* Suits ( 355 Motor Vehicle [7 371 Truth in Lending C 720 Labor/Management 863 DIWC/DIWW (405(g)) | 890 Other Statutory Actions
7 £90 Other Contract Product Liability (J 380 Other Personal Relations 1) 864 SSID Title XVI © 891 Agricultural Acts
77 195 Contract Product Liability | 360 Other Personal Property Damage 1 740 Railway Labor Act OF 865 RSI (405(g)) OF 893 Environmental Matters
1 196 Franchise Injury 385 Property Damage O 751 Family and Medical 0 895 Freedom of Information
(7 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice 1 790 Other Labor Litigation O 896 Arbitration
I REAL PROPERTY CIVIL RIGHTS “PRISONER PETITIONS _|0 791 Employee Retirement ‘ FEDERAL TAX SUITS © 899 Administrative Procedure
7 210 Land Condemnation 3 440 Other Civil Rights Habeas Corpus: Income Security Act 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
1 220 Foreclosure O 441 Voting 0 463 Alien Detainee or Defendant) Agency Decision
77 230 Rent Lease & Ejectment O 442 Employment (© 510 Motions to Vacate © 871 IRS—Third Party 1 950 Constitutionality of
7 240 Torts to Land ( 443 Housing/ Sentence 26 USC 7609 State Statutes
1 245 Tort Product Liability Accommodations © 530 General
17 290 All Other Real Property O 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION
Employment Other: 0 462 Naturalization Application
© 446 Amer. w/Disabilities -] 540 Mandamus & Other |{ 465 Other Immigration
Other O 550 Civil Rights Actions
© 448 Education 07 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
M1 Original (J 2 Removed from 3  Remanded from (1 4 Reinstated or © 5 Transferred from © 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation

(specify)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 U.S.C. Section 1332
Brief description of cause: 0
Action for recovering on a personal injury

VI. CAUSE OF ACTION

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 6,000,000.00 JURY DEMAND: WW Ycs No
VIE. RELATED CASE(S) ee
struct 2
IF ANY (See insirnetonsTUDGE DOCKET NUMBER

DATE SIGNATURE OF ATTOREYF RECOR oS
11/25/2013 = fT pe —
© t

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

